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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                               CRIMINAL MINUTES - ARRAIGNMENT
Case Number: 2:22-CR-00482                    Recorder: CS 11/10/2022                       Date: 11/10/2022

Present: The Honorable Patricia Donahue, U.S. Magistrate Judge

Court Clerk: Isabel Martinez                               Assistant U.S. Attorney: Brian Faerstein, Mark Williams,
                                                           and Matthew O'Brien

 United States of America v.       Attorney Present for Defendant(s)        Language              Interpreter
 JERRY NEHL BOYLAN                 GEORGINA WAKEFILED AND
      BOND-PRESENT                 GABRIELA RIVERA
                                        DFPD'S


PROCEEDINGS: ARRAIGNMENT OF DEFENDANT(S) AND ASSIGNMENT OF CASE .

Deft is arraigned and states true name is the name on the charging document.


Defendant is given a copy of the Indictment and acknowledges having been read or having received a copy of the
Indictment and waives the reading thereof.


Defendant pleads not guilty to all counts in the Indictment.

This case is assigned to the calendar of District Judge George H. Wu.
It is ordered that the following date(s) and time(s) are set:
         Jury Trial 12/20/2022 at 9:00 AM
Defendant and counsel are ordered to appear before said judge at the time and date indicated.

Counsel are referred to the assigned judge's trial/discovery order located on the court's website, Judges' Procedures
and Schedules.




                                                                   First Appearance/Appointment of Counsel: 00 : 00
                                                                                                         PIA: 00 : 05
                                                                                Initials of Deputy Clerk: IM by TRB




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